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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

STATE OF TEXAS, et al.,                           §
                                                  §
        Plaintiffs,                               §
                                                  §
v.                                                §           2:21-CV-229-Z
                                                  §
XAVIER BECERRA, in his official capacity          §
as Secretary of the United States Department      §
of Health and Human Services, et al.,             §
                                                  §
        Defendants.                               §

                                              ORDER

        On December 3, 2021, this Court granted Defendants’ Motion to Stay Proceedings and

ordered both parties to immediately notify the Court of an “Intervening Court Action.” ECF No.

43 at 2. Plaintiffs have notified the Court of the Fifth Circuit’s recent emergency stay decision. See

ECF No. 49; Louisiana v. Becerra, — F.Supp.3d —, No. 21-30734 (5th Cir. Dec. 15, 2021). In its

decision, the Fifth Circuit limited the reach of the Western District of Louisiana nationwide

preliminary injunction of the CMS Mandate to the “14 Plaintiff States” directly involved in that

litigation. Louisiana, No. 21-30734 at 5-6. Therefore, the United States is no long enjoined rom

enforcing the CMS Vaccine Mandate against healthcare providers and suppliers in the State of

Texas. This qualifies as an Intervening Court Action as contemplated by the Court in its previous

order staying this litigation.

        Therefore, the Court ORDERS both parties to appear for an emergency telephonic hearing

to adjudicate Plaintiffs’ Motion for Preliminary Injunction on December 15, 2021 at 3:00 PM

CST. The parties should be prepared to discuss the Fifth Circuit’s order in Louisiana v. Becerra.
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   SO ORDERED.

   December 15, 2021.

                                       ________________________________
                                       MATTHEW J. KACSMARYK
                                       UNITED STATES DISTRICT JUDGE




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